                     Case 1:99-cr-05265-DAD Document 238 Filed 12/12/08 Page 1 of 1
OAO 247 (02/08) Order Regarding Motion for Sentence Reduction


                                     UNITED STATES DISTRICT COURT
                                                                  for the
                                                       Eastern District of California

                   United States of America                          )
                              v.                                     )
                                                                     )   Case No: 1:99-CR-5265 OW W
                                                                     )   USM No: 59074-097
Date of Previous Judgment: Amended 5/8/01                            )   DAVID M. PORTER
(Use Date of Last Amended Judgment if Applicable)                    )   Defendant’s Attorney

                   Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

       Upon motion of X the defendant  the Director of the Bureau of Prisons  the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
        DENIED.    X GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of 164           months is reduced to 146 months                 .
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:    32                Amended Offense Level:                                            31
Criminal History Category: III               Criminal History Category:                                        III
Previous Guideline Range: 151  to 188 months Amended Guideline Range:                                          135       to 168   months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
X The reduced sentence is within the amended guideline range.
 The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
 Other (explain):




III. ADDITIONAL COMMENTS




Except as provided above, all provisions of the judgment dated              5/8/01          shall remain in effect.
IT IS SO ORDERED.

Order Date:         12/11/08                                                             /s/ OLIVER W. WANGER
                                                                                                  Judge’s signature


Effective Date: 12/4/2008                                                   OLIVER W. WANGER, US DISTRICT JUDGE
                     (if different from order date)                                             Printed name and title
